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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 18-CV-21454-COOKE/GOODMAN

  PEPITO RODRIGUEZ, JR.,

         Plaintiff,

  vs.

  REX AUTO SERVICE CORP and
  OSWALDO J. CARRIZO,

        Defendants.
  ______________________________/

            SUPPLEMENTAL NOTICE OF COMPLIANCE WITH ECF NO. 28

         Plaintiff, PEPITO RODRIGUEZ, JR., notifies the Court that he further complied with

  ECF No. 28 by filing his updated/corrected time records and HEREBY CERTIFIES that a true

  and correct copy of the foregoing was served through filing in the U.S. District Court’s CM/EDF

  System on this 14th day of November 2018, which will effect service on Julio Gutierrez, Esq.,

  The Law Offices of Julio Gutierrez, P.A., Counsel for Defendants, jgpa@msn.com, 2464 S.W. 137

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